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IN THE UNITED sTATEs DIsTRIcT coURT Qé“` o
FoR THE WESTERN DIsTRIcT oF TENNEssEE __ .
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UNITED sTATEs oF AMERICA, G°EYDLYBJSP§;D,.HS T

Plaintiff,
v.
Case No. 2:05-cr-20205-1 Ml
CHRIS NEWTON and CHARLES LOVE,

Defendants.

 

ORDER DENYING DEFENDANT'S MDTION TO DISMISS FOR LACK OF PROPER
VENUE OR, ALTERNATIVELY, TO TRANSFER CASE

 

Before the Court is Defendant Chris Newton's Motion to
Dismiss for Lack of Proper Venue or, Alternatively, to Transfer
Case, filed July 7, 2005. The United States filed a response on
July 18, 2005. The Court held a telephone conference on July 25,
2005, during which both parties further argued their respective
positions.1 For the following reasons, Defendant’s motion is
DENIED.

I. BACKGROUND

On May 25, 2005, Defendant Chris Newton {“Rep. Newton”), an

elected member of the Tennessee House of Representatives, was

indicted along with alleged co-conspirator Charles Love in a two"

 

l During the parties’ telephone conference, counsel for
Defendant Charles Love indicated that Mr. Love had no position
regarding the instant motion and that Mr. Love would not be
filing a motion to transfer venue.

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count indictment charging them with conspiracy to commit
extortion under 18 U.S.C. § 1951 and conspiracy to commit theft
or bribery under 18 U.S.C. § 666 and 18 U.S.C. § 371. According
to the United States, Rep. Newton’s arrest was a result of
“Operation Tennessee Waltz,” an investigation directed by the
United States Attorney’s Office for the Western District of
Tennessee and executed by agents of the Federal Bureau of
Investigation based in Memphis, Tennessee. (Ans. of the United
States to Def.’s Mot. to Dismiss Indictment or, in the Alt., to
Transfer the Case at 3.) That operation involved the
investigation of numerous public officials located both in the
Western and Eastern Districts of Tennessee, and included
electronic surveillance pursuant to Title 111 of the Omnibus
Crime Control and Safe Streets Act of 1968, 18 U.S.C. § 2510 et
seq. (“Title III”) (Id.) The electronic surveillance was
monitored in the Western District of Tennessee and all recordings
were secured and sealed in the Western District of Tennessee.
(Id.}

According to the indictment, the Federal Bureau of
Investigation set up and operated an undercover business named E-
Cycle Management, Inc. (“E-Cycle”), to respond to allegations of
corruption by elected officials. (May 25, 2005, Indictment

(Docket No. l) at 2, 1 6.) E-Cycle was purportedly in the

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business of obtaining and disposing of outdated electronic
equipment. (1d.)

Count 1 of the indictment alleges that Rep. Newton donspired
with Mr. Love to obtain $4,500 in illegal payments in exchange
for influencing Rep. Newton’s performance of his duties as a
member of the Tennessee House of Representatives. (1d. at 3.)
The indictment specifically alleges that Mr. Love would represent
to certain individuals, including individuals associated with E-
Cycle, that he had influence over and had collected money for
certain members of the Tennessee General Assembly who could be
influenced to vote for legislation beneficial to E-Cycle. {Id. at
3-4.) The indictment further alleges that, as a part of the
conspiracy, Mr. Love introduced E~Cycle representatives to Rep.
Newton, who would co-sponsor, support and vote for legislation
beneficial to E-Cycle in exchange for illegal payments of money.
(1d. at 4.)

Count 11 of the indictment alleges that Rep. Newton and Mr.
Love conspired to profit financially by demanding and accepting
money in exchange for Rep. Newton's support in advancing
legislation beneficial to E-Cycle. (Id. at 8.) 1n particular,
the indictment alleges that it was the object of the conspiracy
for Mr. Love to put Rep. Newton in contact with representatives
of E-Cycle and for Mr. Love to communicate demands for cash from

Rep. Newton to E*Cycle representatives. (1d.) Cash given to Mr.

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Love and Rep. Newton was allegedly intended to influence and
reward Rep. Newton for his support of legislation benefitting E-
Cycle which would result in E-Cycle gaining business with the
State of Tennessee. (1d.)

With respect to each count, the indictment alleges numerous
identical overt acts in furtherance of the conspiracies alleged.
In particular, the indictment alleges that, on or about July 30,
2004, Mr. Love had a telephone conversation with an E-Cycle
representative whereby he indicated that he could deliver cash to
Rep. Newton. (Id. at 4, 1 1.) On or about August 20, 2004, Mr.
Love met with E*Cycle representatives in Memphis, Tennessee, and
indicated that E-Cycle would get more attention concerning the
legislation that it wished to have passed if it had “gifts to
bear” and that he had worked in the past “bearing gifts” to
legislators including Rep. Newton. (1d. at 4, 1 2.) Mr. Love
further indicated that he would need approximately $15,000 to pay
those legislators, and that Rep. Newton would need more money
than some others. (1d.)

The indictment goes on to allege that, on or about September
8, 2004, Mr. Love and a representative from E-Cycle met with Rep.
Newton in Chattanooga, Tennessee, to discuss payments to Rep.
Newton. (1d. at 4, 1 3.) On or about September 12, 2004, Mr.
Love had a telephone conversation with an E-Cycle representative

during which the E-Cycle representative indicated that he would

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fax a copy of proposed legislation to Rep. Newton that E-Cycle
wished to sponsor and that he would speak to Rep. Newton the next
day. (Id at 5, 1 4.} During that conversation, Mr. Love
indicated that Rep. Newton would probably need $l,500 to support
the bill. (1d.)

The indictment further alleges that on or about September
14, 2004, Mr. Love received a wire transfer of $6,500 from the
Western District of Tennessee to his bank account in Chattanooga,
Tennessee. (1d. at 5, 1 5.) Also on or about that date, Mr.
Love had a conversation with an E-Cycle representative where he
indicated that he would be going to see Rep. Newton and
acknowledged that Rep. Newton would receive $1,500 for supporting
E-Cycle's legislation. (1d. at 5, 1 6.) On or about September
16, 2004, Mr. Love and an E-Cycle representative met in
Chattanooga, Tennessee, whereby Mr. Love told the E-Cycle
representative that he had met with Rep. Newton the previous day,
that Mr. Newton would co-sponsor the bill that E-Cycle wished to
have passed, that Rep. Newton had received a $750 payment, and
that he was due another $750 payment. (1d. at 5, 1 7.) On or
about that same date, Rep. Newton met with an E-Cycle
representative in Cleveland, Tennessee, where he acknowledged
that he had spoken to Mr. Love concerning the legislation that E-
Cycle wished to have passed and that Mr. Love was “taking care”

of him.

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On or about September 17, 2004, the indictment alleges that
Mr. Love had a telephone conversation with an E-Cycle
representative during which he indicated that he had met with
Rep. Newton and given him the remaining $750 of the $1,500
payment. (1d. at 6, 1 9.) On or about September 24, 2004, Mr.
Love spoke with an E-Cycle representative and indicated that E-
Cycle needed to give Rep. Newton more money. (1d. at 6, 1 10.)
On or about September 28, 2004, Mr. Love spoke to an E-Cycle
representative and indicated that he needed $1,000 for Rep.
Newton. (1d. at 6, 1 11.) On or about October 12, 2004, Mr. Love
traveled to Memphis, Tennessee to meet with an E-Cycle
representative, who gave Mr. Love an envelope bearing the
initials “C.N.” and containing $1,000 for Rep. Newton. (1d. at 6,
1 12.)

On or about October 13, 2004, the indictment alleges that
Mr. Love and Rep. Newton met in Cleveland, Tennessee with an E-
Cycle representative. (1d. at 6, 1 13.} At that meeting, Rep.
Newton possessed an envelope similar to that described in
paragraph 12 of the indictment. (1d.) During that meeting, Rep.
Newton and the E-Cycle representative discussed the bill which E-
Cycle wished Rep. Newton to sponsor in the Tennessee House of
Representatives. (1d. at 6-7, 1 13.) On or about November 19,
2004, Rep. Newton met with an E-Cycle representative in

Cleveland, Tennessee, during which the details of proposed

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legislation were discussed. (1d. at ?, 1 14.) On or about
January 13, 2005, Rep. Newton filed House Bill Number 0038 - the
bill which was to benefit to E-Cycle.

II. ANALYSIS

Rep. Newton contends that his indictment should be dismissed
for improper venue or, in the alternative, that this case should
be transferred to the Eastern District of Tennessee, because the
indictment does not allege that Rep. Newton committed any
criminal acts within the Western District of Tennessee. The
United States contends that venue is proper in the Western
District of Tennessee because certain overt acts in furtherance
of the alleged conspiracies took place in the Western District of
Tennessee. The Court will first consider whether venue is proper
in the Western District of Tennessee and then, if so, whether the
proceedings should be transferred to the Eastern District of
Tennessee.

A. Motion to Dismiss for Improper Venue

Article 111, § 2 of the United States Constitution sets the
basic venue requirements for criminal prosecutions under federal
law, as follows:

The Trial of all Crimes, except in Cases of
Impeachment, shall be by Jury; and such Trial shall be
held in the State where the said Crimes shall have been
committed; but when not committed within any State, the

Trial shall be at such Place or Places as the Congress
may by Law have directed.

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U.S. meT. Art. 111, § 2, cl. 3 (quoted in United States v. Lee
Williams, 274 F.3d 1079, 1083 (6th Cir. 2001)). “The
[constitutional] guarantee [to a defendant] is for a trial in the
state and district where the offense was committed.” Lee
Williams, 274 F.3d at 1083 (quoting United States v. O’Donnell,
510 F.2d 1190, 1192 (6th Cir. 1975)). Federal Rule of Criminal
Procedure 18 further provides that:
Unless a statute or these rules permit otherwise, the
government must prosecute an offense in a district
where the offense was committed. The court must set
the place of trial within the district with due regard
for the convenience of the defendant and the witnesses,
and the prompt administration of justice.
Fed. R. Crim. P. 18.

Under 18 U.S.C. § 3237(a), “any offense against the United
States begun in one district and completed in another, or
committed in more than one district, may be inquired of and
prosecuted in any district in which such offense was begun,
continued, or completed.” 18 U.S.C. § 3237(a)(cited in United
States v. Scaife, 749 F.Zd 338, 346 (6th Cir. 1984)). Venue is
therefore proper in conspiracy prosecutions “in any district
where the conspiracy was formed or in any district where an overt

act in furtherance of the conspiracy was performed.” Lee

Williams, 274 F.3d at 1083 (quOting Scaife, 749 F.2d at 346).2

 

2 Because conspiracy is a continuous crime, “venue is proper
in any district along the way.” Lee Williams, 274 F.3d at 1083
(quoting United States v. Turner, 936 F.2d 221, 226 (6th Cir.
1991)).

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“A conspiracy defendant need not have entered the district so
long as this standard is met.” United States v. Crozier, 259 F.3d
503, 519 (6th Cir. 2001)(quoting Scaife, 749 F.2d at 346).

1n order to determine where venue may properly be located,
the United States Court of Appeals for the Sixth Circuit applies
a “substantial contacts” test. Lee Williams, 274 F.3d at 1084
{citing United States v. Estel Williams, 788 F.2d 1213, 1215 (6th
Cir. 1986)). That test “takes into account a number of factors -
the site of the defendant's acts, the elements and nature of the
crime, the locus of the effect Of the criminal conduct, and the
suitability of each district for accurate fact finding....” ld;
(citing Estel Williams, 788 F.Zd at 1215). The Court will
consider the first and second factors ~ the site of the
defendant's acts and the elements and nature of the crime -
concurrently because the elements and nature of the crime of
conspiracy determine the relevance of the site of defendant’s
acts. The Court will then analyze the third and fourth factors.

Rep. Newton first contends that the indictment does not
specifically allege that a conspiracy was formed in the Western
District of Tennessee. However, a conspiracy need not be formed
within the Western District in order for venue to be proper
there. Rather, venue is proper in the Western District if an
overt act in furtherance of the conspiracy was performed there.

Lee Williams, 274 F.3d at 1083 (quoting Scaife, 749 F.2d at 346).

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With respect to the alleged overt acts in furtherance of the
conspiracy, Rep. Newton first contends that venue is not proper
in the Western District of Tennessee because all of the
indictment's allegations involving him are alleged to have
occurred either in Chattanooga, Cleveland, or Nashville,
Tennessee. However, venue is proper if an overt act in
furtherance of the conspiracy was performed in the Western
District, even if the Defendant never entered the district.
Scaife, 749 F.2d 338, 346.

Rep. Newton next contends that venue is not proper in the
Western District of Tennessee based upon the alleged actions of
Mr. Love within the district. The indictment alleges three acts
that took place or originated within the Western District: (1)
the August 20, 2004, meeting between Mr. Love and E-Cycle
representatives in Memphis, Tennessee, during which Mr. Love
indicated that E-Cycle would get more attention concerning the
legislation that it wished to have passed if it had “gifts to
bear,” that he had worked in the past “bearing gifts” to
legislators including Rep. Newton, that he would need
approximately $15,000 to pay those legislators, and that Rep.
Newton would need more money than some others (Indictment at 4, 1
2); (2) that on or about September 14, 2004, Mr. Love received a
wire transfer of $6,500 from the Western District of Tennessee to

his bank account in Chattanooga, Tennessee. (1d. at 5, 1 5); and

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(3} the October 12, 2004, meeting between Mr. Love and an E-Cycle
representative in Memphis, Tennessee, during which the E~Cycle
representative gave Mr. Love an envelope bearing the initials
“C.N.” and containing $1,000 for Rep. Newton (1d. at 6, 1 12.) -
an envelope that is alleged to have been in Rep. Newton's
possession at an October 13, 2004, meeting in Cleveland,
Tennessee with an E-Cycle representative (1d. at 6, 1 13), during
which Rep. Newton and the E-Cycle representative discussed the
bill that E-Cycle wished Rep. Newton to sponsor in the Tennessee
House of Representatives. (1d. at 6"7, 1 13.)

Rep. Newton contends that the August 20, 2004, meeting
occurred prior to the formation of any alleged Conspiracy and
therefore that it cannot support the venue requirements. Acts
that are merely prior and preparatory to a conspiracy do not
support venue. United States v. Berrv, No. 93-5376, 21 F.Bd 428,
1994 WL 100274 at *2 (6th Cir. Mar. 24, 1994}. Rep. Newton
contends that the August 20, 2004, meeting was prior and
preparatory to any alleged conspiracy because Mr. Love is alleged
to have stated during the meeting what he believed he needed to
pay legislators in the future to obtain benefits for E-Cycle.

The indictment does not specifically allege at what point the
conspiracy was formed. 1n order to prove conspiracy, however,
“[p]roof of a formal agreement is unnecessary; a tacit or mutual

understanding among the parties is sufficient ....” 1d. at *3

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(citing United States v. Hughes, 891 F.2d 597, 601 (6th Cir.
l989)(noting that the “existence of a conspiracy may be inferred
from the acts done with a common purpose”)). Accordingly, it is
possible that the August 20, 2004, meeting was an overt act in
furtherance of the alleged conspiracy between Rep. Newton and Mr.
Love. However, even assuming that the August 20, 2004, meeting
was prior and preparatory to a conspiracy and therefore could not
support venue, the Court finds that other acts alleged in the
indictment support venue being proper in the Western District of
Tennessee.

With respect to the October 12, 2004, meeting in Memphis,
Tennessee, Rep. Newton contends that it does not support venue
because it occurred in Memphis at the United States’ insistence,
acting through E-Cycle, and therefore worked only to artificially
create venue in the Western District rather than to further the
purpose of the conspiracy. However, Rep. Newton's contention
regarding the motivation for the meeting being held in Memphis is
pure speculation.3 Even taking that contention as true, however,
the facts alleged plainly indicate that the October 12, 2004,
meeting furthered the alleged purpose of the conspiracy.

Accordingly, the Court finds that the facts alleged in the

 

3 During argument on Rep. Newton’s motion to dismiss for
lack of venue, the United States strongly denied that it had
artificially created venue, and counsel for Rep. Newton conceded
that he lacked any evidence to support that contention. (See
Transcript, July 25, 2005, telephone conference.)

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indictment establish that an overt act in furtherance Of the
alleged conspiracy was performed in the Western District of
Tennessee on October 12, 2004. Venue is therefore proper in the
Western District of Tennessee. §ee Crozier, 259 F.3d at 519
(finding single overt act in furtherance of conspiracy committed
within district sufficient to make venue proper}; Lee Williams,
274 F.3d at 1083).

With respect to the third factor in the substantial contacts
test - the locus of the effect of the alleged criminal conduct -
the Court finds that this factor weighs in favor of venue being
proper in the Western District. The effect of the alleged
conduct - given that the allegations involve a conspiracy to
commit bribery and extortion under color of official right by a
sitting member of the Tennessee House of Representatives - would
be felt equally by all citizens in all parts of the state of
Tennessee. As for the fourth factor - the suitability of the
district for fact-finding - the Court finds that the Western
District presents no difficulty for fact~finding and therefore
that this factor also counsels in favor of venue being proper in
this district.

Accordingly, having considered the substantial factor test
and other relevant law in light of the record and the parties'

submissions, the Court finds that venue is proper in the Western

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District of Tennessee. Defendant's motion to dismiss the

indictment is therefore DENIED.

B. Transfer of Venue
The Court next addresses Rep. Newton's contention that this
case should be transferred to the Eastern District of Tennessee
pursuant to Federal Rule of Criminal Procedure 21(b). Rule 21(b)
provides that a case may be transferred to another venue, as
follows:
Upon the defendant’s motion, the court may transfer the
proceeding, or one or more counts, against that
defendant to another district for the convenience of
the parties and witnesses and in the interest of
justice.
Fed. R. Crim. P. 21(b). The decision regarding whether to
transfer a case under Rule 21(b) is within the Court's
discretion. Graham v. United States, 257 F.2d 724r 729 (6th Cir.
1958); United States v. Collins, No. 91-5215, 955 F.2d 45, 1992
WL 31302 at *4 (6th Cir. Feb. 20, 1992).
1n Platt v. Minnesota Mininq Co., the Supreme Court assumed,
without deciding, that ten factors may appropriately be
considered by a district court in determining whether to exercise
its discretion to transfer a case pursuant to Rule 21(b). 376

U.S. 240r 243-44 (1964); see also Collins, 1992 WL 31302 at *4

(finding no abuse of discretion by district court that denied

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transfer pursuant to Rule 21(b) based upon analysis of Blgtt
factors). Those factors include: (1) the location of the
defendant; (2) the location of possible witnesses; (3) the
location of events likely to be in issue; (4) the location of
documents and records likely to be involved; (5) any disruption
of defendant's business unless the case is transferred; (6) the
expense to the parties; (7) the location of counsel; (8) the
relative accessibility of place of trial; (9) the docket
condition of each district or division involved; and (10) any
other special elements which might affect the transfer. §latt,
376 U.S. at 243-44. “1t is within the district court's
discretion to balance these factors and determine which factors
are of greatest import.” Collins, 1992 WL 31302 at *4 (citing 2
CHARLES ALAN WRIGHT, FEDERAL PRACTICE AND PRocEDURE: CRIMINAL, § 1344, at
275 (2d ed. 1982)).

Rep. Newton contends that all ten §latt factors weigh in
favor of transferring this case to the Eastern District of
Tennessee. 1n particular, Defendant contends that: he resides in
Cleveland, Tennessee, which is in the Eastern District; his
counsel are located in Chattanooga, Tennessee, which is also in
the Eastern District and nearly five hours by automobile from
Memphis, Tennessee; witnesses that he may call at trial reside in
or near Cleveland, Tennessee; many of the events at issue took

place in either Cleveland, Tennessee or in Nashville, Tennessee;

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many documents and records may be located in the Eastern District
or could easily be transferred there; he is the Director of Human
Resources for a corporation located in Cleveland, Tennessee that
requires him to supervise several employees; he will incur
significant expenses in paying travel expenses for witnesses
traveling from the Eastern District to the Western District; the
Eastern District is a more accessible venue for his witnesses and
counsel; the Eastern District has a smaller criminal case load
than the Western District and therefore has a more favorable
docket condition; and finally that other special elements - in
particular, the allegedly weak support for venue in the Western
District and the United States' allegedly insubstantial interest
in maintaining venue in the Western District ~ support transfer
to the Eastern District.

The United States counters that: almost all of its witnesses
either reside in Memphis, Tennessee or outside the State of
Tennessee and can more easily be accommodated in Memphis than
Chattanooga; all records concerning the case are located in the
Memphis, Tennessee area and all monitoring agents who would be
needed to testify as to electronic intercepts and Title 111
materials are located within the Western District of Tennessee;
many important events in this case took place in Memphis,
Tennessee; and that Mr. Love has not requested a change of venue

and therefore a transfer of venue would require Rep. Newton to be

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tried separately, necessitating a duplication of the government's
efforts and an inefficient use of judicial resources.

Upon consideration of the gla;t factors in light of the
record and the parties’ contentions, the Court finds that the
transfer of this case is not warranted for the convenience of the
parties and witnesses and in the interest of justice under Rule
21(b). Although Rep. Newton, his business, his counsel,
documents relevant to his defense and witnesses who may testify
on his behalf are all located in or near the Eastern District of
Tennessee, the Court finds that these factors do not weigh in
favor of transferring the case. First, travel from Chattanooga
or Cleveland, Tennessee to Memphisr Tennessee may be accomplished
in a reasonable amount of time via automobile over interstate
highways. Accordingly, it will not be unduly burdensome for Rep.
Newton to travel to Memphis for trial. Additionally, the Court
has thus far accommodated Rep. Newton and his counsel by allowing
Rep. Newton to appear at certain pre-trial procedures by
telephone, to which the United States has not objected. Rep.
Newton remains free to request that accommodation from the Court
in the future. Moreover, Rep. Newton chose to retain counsel
located in Chattanooga rather than in Memphis, where he was
indicted.

Although Rep. Newton will undoubtedly bear some expense

regarding witnesses traveling from the Eastern District to the

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Western District, the Court finds that the relative ease of
travel between the locations means that the expense is not likely
to be excessive and therefore that this factor does not weigh in
favor of transferring venue. §ee Collinsr 1992 WL 31302 at *4
(affirming denial of change of venue from Eastern District of
Tennessee at Chattannooga to Middle District of Tennessee at
Nashville where defendant and his counsel resided in Nashville,
but the government attorney and grand jury investigation occurred
in Chattanooga, Chattanooga was accessible to the defendant and
his counsel since the cities were only two hours apart, and
defendant failed to make a showing of inconvenience to
witnesses). Additionally, because attending his trial will
likely require him to be out of the office during business hours,
any effect regarding Rep. Newton’s supervisory responsibilities
at the company for which he works will be similar regardless of
the location of his trial. That factor therefore does not weigh
in favor of transferring venue. Furthermore, the docket
condition of the Western District is such that it can accommodate
Rep. Newton's case4 and Memphis provides an accessible venue for
trial. Those factors therefore weigh in favor of retaining the

case in the Western District.

 

4 In his motion, Rep. Newton notes that the average criminal
caseload in the Western District of Tennessee is approximately
137.2 cases per judge, compared to 86.2 cases per judge in the
Eastern District.

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Moreover, the presence of the United States’ witnesses and
documents related to this case within the Western District of
Tennessee weighs in favor of allowing the case to remain in the
Western District. 1n particular, materials related to electronic
surveillance that are located within the Western District will be
essential to this case and their location weighs in favor of
trying this case in the Western District.

The Court further finds that certain special elements weigh
against transferring the case - in particular, the concentration
of the investigation and the electronic monitoring within the
Western District of Tennessee as well as the possibility that
judicial resources would be expended unnecessarily by trying Rep.
Newton and Mr. Love separately in two different districts.
Accordingly, having considered all of the glatt factors in light
of the record and the parties’ contentions, the Court finds that
the transfer of this case is not warranted for the convenience of
the parties and witnesses and in the interest of justice under
Rule 21(b). Rep. Newton's motion to transfer this case to the
Eastern District of Tennessee is therefore DENIED.

III. CONCLUSION

For the reasons stated, the Court finds that venue in this
case is proper within the Western District of Tennessee and that
a transfer of venue shall not be granted pursuant to Rule 21(b).

Accordingly, Rep. Newton's motion to dismiss the indictment or,

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in the alternative, to transfer venue to the Eastern District of

Tennessee is DENIED.

So ORDERED this l day of August, 2005.

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JON P. MCCALLA
UNI ED STATES DISTRICT JUDGE

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UNITED `sTEATSDTISRIC COURT - WESTEN D"STRCT OFTNNEESSEE

    

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This notice confirms a copy of the document docketed as number 41 in
case 2:05-CR-20205 Was distributed by fax, mail, or direct printing on
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